Case 1:20-cv-08786-GHW_ Document 1-2 Filed 10/22/20 Page 193 01/25/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone: 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

01/20/2019 01/25/2019

 

 

 

 

 

Shipped Amont Payment

01/20 Sunday 0.00 0.00
01/21 Monday 0.00 0.00
01/22 Tuesday 4434.20 18020.80
01/23. Wednesday 3215.50 0.00
01/24 Thursday 3514.40 0.00
01/25 Friday 2064.20 0.00

Shipped Total 13228.30 Paid Total 18020.80

Delivery Charge 0.00 Credit Memo

Credit 0.00 ==
wenn een Date +/- Qty Item Price Amount

Sub-Total (ei “TS. OR8-30 9 seeenecoceemeeccscent ae eee eee
Prev.Balance(+) 178,669.84 01/23 + 1 bokch cr-1.3 0

01/23 + 1 egg adt+32.8 0.00 0.00
Payment 18,020.80 01/24 + 1 Gpep ad+28.3 0
+ 1 Cpar rt-23.3 0
CEEEent BAISH6Ss 7S BTR 2 Be

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Credit Total 0.00
AR Aging Report Current Balance 173,877.34
———
lst Week 13,228.30 Received Amount (-)
2nd Week 34.30 This Week Balance
3rd Week & Over 160,614.74 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S&

Case 1:20-cv-08786-GHW Document 1-2 Pliksed:1G/30/ 28 Bage 2 oF BB 347)438-1053

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324855

#100 Broad st

NY, NY 10004 Date 01/22/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] BEETS 25LB LBAG CAN 2 11.00 22.00
GRANNY SMITH 80 USA 2 41.00 82.00 | PEPPER GREEN GR USA 2 27.00 54.00
GALA APPLE 80 USA 1 45.00 45.00 | PEPPER RED RED USA 3 20.00 60.00
STAR RUBY Cc USA 1 30.00 30.00 | YELLOW PEPPER YELL USA 2 16.00 32.00
POMEGRANATES c USA 2 21.00 42.00 | JALAPINO JALPN HOL 1 25.00 25.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | CUCUMBER CUM MEX 3 24.00 72.00
SEEDLESS RED RED USA 1 34.00 34.00 | SQUASH GREEN GR USA 1 29.00 29.00
KIWI LOOSE LLOO USA 2: (23200 23.00) GARLIC JAR JBOX USA 1 46.00 46.00
WATERMELON SEED USA 1 50.00 50.00} SHANGHAI BOKCHOY SH/BK USA 1 28.00 28.00
CANTALOUP C USA 1 13.00 13.00 | GINGER 10LB 10LB CHN 1 12.00 12.00
HONEY DEW C USA 1 30.00 30.00 | MUSHROOM WASH 10LB USA 2 17,00 51.00
JUICE ORANGE 100 USA 2 22.00 44.00] MUSH SPECIAL 10S8SP USA 4 17.50 70.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
LEMON SK SK/L USA 1 30.00 30.00 | YAM #1 YAM USA 1 20.00 20.00
STRAWBERRY CAL USA 8 25.00 200.00] EGGPLANT ITALIAN ITAL USA 1 28.00 28.00
RASPBERRY A USA 7 27.00 189.00] POTATO IDAHO 90 USA 3 22.00 66.00
BLUEBERRY A USA 4 13.00 52.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
BLACKBERRY A USA 2 15:00 30.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
AVOCADO HASS# RIPE MEX 8 32.00 256.00] ONION SPANISH SPI USA 2 16.00 32.00
PAPAYA BIG BOX RED MEX 1 40.00 40.00 | ONION RED RD-J USA 2 13.00 26.00
MANGO RIPE M/RIP MEX 6 9.00 54.00 | TOFU s USA 1 13.00 13.00
LIME 48 MEX 1 11.00 11.00 | PINE GOLDEN GOL USA 4 14.00 56.00
TOMATO #1 5X6 USA 3 23.00 69.00 | BANANA BNA ECU 3 = 15.50 46.50
TOMATO PLUM c MEX 2 16.00 32.00 | MESCLUN SALAD MESC USA 20 7.50 150.00
TOMATO GRAPE R USA 3 11.00 33.00 | EGG EX/LOOSE EXLOO USA 7 31.50 220.50
TOMATO GRAPE YE USA 1 26.00 26.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
TOMATILLO ORG MEX 1 16.00 16.00 | YUKON A BOX Y ABO USA 1 35.00 35.00
ROMAINE CA-A USA 3 18.00 54.00] SCALLION KING USA 3 50.00 150.00
CABBAGE GR GR USA 1 22.00 22.00
CABBAGE RED RED USA 1 37.00 37.00
CAULIFLOWER c USA 2 32.00 64.00
FLOWER ORCHID 100 USA 1 15.00 15.00
BROCCOLI CROWN CROW USA 5 21.00 105.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 3 38.00 114.00
CELERY Cc USA 1 38.00 38.00
SPINACH BUSH USA 2 29.00 58.00
SPINACH BABY BA/SP USA 12 6.50 78.00 Total Boxes: 199.0
GREEN COLLARD COALD USA 1 23.00 23.00 Delivery $ : 258.70
GREEN KALE KALE USA 4 32.00 128.00
STRINGBEAN BEAN USA 1 25.00 25.00| Shipment 4,434.20
SNOWPEA A USA 1 20.00 20.00 | ——s-s-S ees ee EE TET EES
ALFALFA CUP USA i. 2.00 12.00
BRUSSEL SP LOOSE USA 3 41.00 123.00 Cash Receipt:
MINT A USA 1 15.00 15.100 | sceseeeee soe eee ne ST
BASIL A USA 2 20.00 40.00
BABY ARRUGULA B/AR USA 6 11.50 69.00 Signature
CILANTRO c USA 1 18.00 18.00
Printed on Oct 12, 2020 eeekeke Balance : 178,669.84

The perishable agricultural commodities listed on this invoice are sold

commodities act, 1930(7 U.S.C, 499(E\(C)). The seller of these commo

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

subject to the statutory trust authorized by section 5(c) of the perishable agricultural
dities retains a trust claim over these commodities, all inventories of food or other
K&S$ Case 1:20-cv-08786-GHW_Document 1-2 Firee:1G/8PEC8Bage 3 of &g 347/438-1053

INVOICE

 

 

 

 

 

 

 

ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324925
#100 Broad st
NY, NY 10004 Date 01/23/2015
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | EGGPLANT c USA 1 23.00 23.00
GRANNY SMITH 80 USA 2 41.00 82.00) POTATO IDAHO 90 USA 2 22.00 44.00
STAR RUBY Cc USA 1 29.00 29.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
POMEGRANATES Cc USA 2 20.00 40.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
KIWI LOOSE LLOO USA 1 23.00 23.00 | ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 50.00 50.00] ONION RED RD-J USA 2 13.00 26.00
CANTALOUP c USA 1 14.00 14.00 | PINE GOLDEN GOL USA 3 14.00 42.00
HONEY DEW ce USA 1 30.00 30.00 | BANANA BNA ECU 2 15.50 31.00
JUICE ORANGE 100 USA 2 22.00 44.00 | PLANTAIN YELLOW c ECU 1 27.00 27 200
SUNKIST ORANGE 56 USA 2 33.00 66.00 | MESCLUN SALAD MESC USA 12 7.50 90.00
LEMON SK SK/L USA 1 30.00 30.00 | EGG EX/LOOSE EXLOO USA 7 31.50 220.50
STRAWBERRY CAL USA 7 26.00 182.00] ORDER PAPER OR/PE 0 0.00 0.00
RASPBERRY A USA 4 26.00 104.00| SCALLION KING USA 2 48.00 96.00
BLUEBERRY A USA 3 13.00 39.00
BLACKBERRY A USA 2 14.00 28.00
AVOCADO HASS# RIPE MEX 6 32.00 192.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
TOMATO #1 5X6 USA 2 22.00 44.00
TOMATO PLUM c MEX 1 15.00 15.00
TOMATO CHERRY Cc USA 1 19.00 19.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 2 17.00 34.00
CABBAGE GR GR USA 1 21.00 21.00
CAULIFLOWER C USA 2 29.00 58.00
BROCCOLI CROWN CROW USA 4 20.00 80.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 37.00 111.00
CELERY Cc USA 2 38.00 76.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 3 32.00 96.00
STRINGBEAN BEAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
SHALLOT JAR/5LB SsJ#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 13.00 13.00 Credit -31.50
BABY ARRUGULA B/AR USA 6 11.50 69.00
PARSLEY PLAIN FULL USA 1 26.00 26.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Total Boxes: 150.0
PEPPER GREEN GR USA 1 27.00 27.00 Delivery $ 195.00
PEPPER RED RED USA 2 20:,00 40.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment = 3,275,..50
SQUASH GREEN GR USA 1 28.00 28.00 | ------ nnn rrr re rr sn
SQUASH YELLOW YEL MEX 1 32.00 32.00
WATERCRESS BEw MEX 1 19.00 19.00 Cash Receipt:
SHANGHAI BOKCHOY SH/BK USA 1 0.00 SIGN) |, Seance resect encores emanate ise ea mS ere
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 3 L7.50 52.50 Signature
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
Printed on Oct 12, 2020 k#k*k*x** Balance : 165,083.24

The perishable agricultural commodities
commodities act. 1930(7 U.S.C, 499(E)(
products derived from these commodities and any receiva

listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
bles or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 1-2 Pitesk 1072@/40-29age 4 Of aS: 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325002
#100 Broad st
NY, N¥ 10004 Date 01/24/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 41.00 82.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
GALA APPLE 80 USA 1 45.00 45.00] POTATO IDAHO 90 USA 3 22.00 66.00
STAR RUBY Cc USA 1 29.00 29.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
POMEGRANATES Cc USA 2 21.00 42.00 | ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS GREEN GR USA 1 32.00 32.00] ONION RED RD-J USA 2: 2360 26.00
SEEDLESS RED RED USA 1 30.00 30.00} TOFU s USA 1 13.00 13.00
WATERMELON SEED USA 1 50.00 50.00 | PINE GOLDEN GOL USA 3 14.00 42.00
JUICE ORANGE 100 USA 2 22.00 44.00] BANANA BNA ECU 2 15.50 31.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | CIDER 1/2G USA 1 26.00 26.00
LEMON SK SK/L USA 1 28.00 28.00] MESCLUN SALAD MESC USA 18 7.00 126.00
STRAWBERRY CAL USA 8 27.00 216.00] EGG EX/LOOSE EXLOO USA 6 31.50 189.00
RASPBERRY A USA 6 21.00 126.00] YUKON A Box Y ABO USA 1, 85.06 35.00
BLUEBERRY A USA 5 21.00 105.00] SCALLION KING USA 3 46.00 138.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 5 31.00 155.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 3 20.00 60.00
TOMATO PLUM c MEX 2 15.00 30.00
TOMATO CHERRY Cc USA 2 19.00 38.00
TOMATO GRAPE R USA S 212..00 33.00
TOMATO GRAPE YE USA 1 26.00 26.00
LETTUCE . ICEBERG A USA 1 19.00 19.00
ROMAINE CA-A USA 4 17.00 68.00
CAULIFLOWER c USA 1 22.00 22.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 18.00 72.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 37.00 111.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN COLLARD COALD USA 1 23.00 23.00
GREEN KALE KALE USA 2 32.00 64.00
STRINGBEAN BEAN USA 1 27.00 27.00
BRUSSEL SP LOOSE USA 2 40.00 80.00
RADICCIO.. RD/CO USA 1 13.00 13.00 Credit -28.30
BABY ARRUGULA B/AR USA 7 11.50 80.50
PARSLEY CURLEY FULL USA 1 22.00 22.00
BEETS 25LB LBAG CAN 2 11.00 22.00 Total Boxes: 167.0
PEPPER GREEN GR USA 1 27.00 27.00 Delivery $ : 217.10
PEPPER RED RED USA 2 19.00 38.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment : 3,514.40
JALAPINO JALPN HOL 1 25.00 25.00 | --------- nnn nen nnn ee
CUCUMBER CUM MEX 2 23.00 46.00
SQUASH GREEN GR USA 1 .25,.00 25.00 Cash Receipt
GARLIC JAR JBOX USA 1 44.00 44..00 | SASS Sass SSS phase a Seems rere
GINGER C30 USA 1 24.00 24.00
MUSHROOM WASH 10LB USA 1 17.00 17.00 Signature
MUSH SPECIAL 10SP USA 3 17.50 52.50
Printed on Oct 12, 2020 keeek* Balance : 168,298.74

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-2 Fitee:1 0/2728 Rage 5 OFBS 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325059
#100 Broad st
NY, NY 10004 Date 01/25/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00
POMEGRANATES c USA 2 21.00 42.00
KIWI LOOSE LLOO USA 1 24.00 24.00
WATERMELON SEED USA 1 48.00 48.00
HONEY DEW c USA 1 30.00 30.00
JUICE ORANGE 100 USA 2 22.00 44.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY CAL USA 8 27.00 216.00
RASPBERRY A USA 5 18.00 90.00
BLUEBERRY A USA 4 20.00 80.00
AVOCADO HASS# RIPE MEX 3 30.00 90.00
PAPAYA BIG BOX RED MEX 1 40.00 40.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO PLUM Cc MEX 1 15.00 15.00
ROMAINE CA-A USA 1 16.00 16.00
CABBAGE GR GR USA 1 22.00 22.00
CAULIFLOWER ce USA 1 20.00 20.00
BROCCOLI CROWN CROW USA 2 18.00 36.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 38.00 76.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 4 6.50 26.00
GREEN COLLARD COALD USA IT 22:06 22-00
GREEN KALE KALE USA 1 32.00 32.00
STRINGBEAN BEAN USA 1 28.00 28.00
ALFALFA CUP USA 1 12,00 12.00
PARSLEY CURLEY FULL USA 0 0.00 0.00
CILANTRO c USA 1 18.00 18.00
PEPPER RED RED USA 2 17.00 34.00
YELLOW PEPPER YELL USA 1 15.00 15.00
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH GREEN GR USA 1 23.00 23.00
GARLIC JAR JBOX USA 1 40.00 40.00
SHANGHAI BOKCHOY SH/BK USA 1 25.00 25.00 Credit : 23.30
GINGER 10LB 10LB CHN 1 12.00 12.00
MUSHROOM WASH 10LB USA L 217..00 17.00
MUSH SPECIAL 10SP USA — 250 1.7.50 Total Boxes: 95.0
PORTABELLA MUS M PO#2 USA 1 9.50 9.50 Delivery $ : 123.50
YAM #1 YAM USA 1 20.00 20.00
POTATO IDAHO 90 USA 2 22.00 44.00 Shipment : 2,064.20
ONION SPANISH SPI USA 1 16.00 26,00 | “SSS Sshea SSS ee a
PINE GOLDEN GOL USA 3 14.00 42.00
BANANA BNA ECU 3 15.50 46.50 Cash Receipt:
MESCLUN SALAD MESG: USA: 6 7:00 4A2.00)|'\—=-=S-S-S-===——eo—ee—ee———— ee
EGG EX/LOOSE EXLOO USA 5 B1;50 157.50
SCALLION KING USA 1 42.00 42.00 Signature :
Printed on Oct 12, 2020 *eeek* Balance : 171,813.14

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW_ Document 1-2 Filed 10/22/20 Page 6hFtes 02/01/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone: 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:

#100 Broad st
NY, NY 10004 01/27/2019 02/01/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
01/27 Sunday 0.00 0.00
01/28 Monday 3892.20 18682.04
01/29 Tuesday 3975.30 0.00
01/30 Wednesday 3295.10 0.00
01/31 Thursday 2875.30 0.00
02/01 Friday 2130.00 20335.60
Shipped Total 16167.90 Paid Total 39017.64
Delivery Charge 0.00 Credit Memo
Credit 0.00
a Se See ee Date +/- Qty Item Price Amount
Sub-Total (2) ANG AGRA 9 SR Shr Se ieee at
Prev.Balance(+) 173,877.34 01/28 + 1 scalon cr-43 0.00 0.00
01/29 + 1 parsle ad+23 0.00 0.00
Payment 39,017.64 01/30 + 1 redoni cr-14 0.00 0.00
wen rrr 01/31 + 1 Ysqu adt+24.3 0.00 0.00
Current Balance 151,027.60 02/01 + 1 alfa ad+13.3 0.00 0.00
02/01 + 1 orchid ad+24. 0.00 0.00
Credit Total 0.00
AR Aging Report Current Balance 151,027.60
1st Week 16,167.90 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 134,859.70 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust élaim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW_ Document 1-2 _Piiend 10/8278028P8age 7 ofF28: 347)438-1053
INVOICE

 

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325134
#100 Broad st
NY, NY 10004 Date 01/28/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | YELLOW PEPPER YELL USA 2 14.00 28.00
GRANNY SMITH 80 USA 1 41.00 41.00 | JALAPINO JALPN HOL 1 25.00 25.00
STAR RUBY Gc USA 1 28.00 28.00 | CUCUMBER CUM MEX 2 18.00 36.00
POMEGRANATES c USA 1 42.00 42.00 | SQUASH GREEN GR USA t 7.08 17.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | SQUASH YELLOW YEL MEX 1 26.00 26.00
SEEDLESS RED RED USA 1 33.00 33.00] GARLIC JAR JBOX USA 1 36.00 36.00
KIWI LOOSE LLOO USA i 23./00 23.00 | MUSHROOM WASH 10LB USA 3 27.00 51.00
WATERMELON SEED USA 1 48.00 48.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
CANTALOUP c USA 1 12.00 12.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
HONEY DEW c USA 1 28.00 28.00 | EGGPLANT Cc USA 1 19.00 19.00
JUICE ORANGE 100 USA 1 22.00 22.00 | EGGPLANT ITALIAN ITAL USA 1 28.00 28.00
SUNKIST ORANGE 56 USA 3 33.00 99.00 | POTATO IDAHO 90 USA 2 22.00 44.00
STRAWBERRY CAL USA 8 28.00 224.00 | POTATO RED A BOX BOX A USA 1 24.00 24.00
RASPBERRY A USA 5 18.00 90.00 | CARROT LOOSE LOOSE USA 2 27.00 54.00
BLUEBERRY A USA 4 15.00 60.00 | ONION SPANISH SPI USA 2 16.00 32.00
BLACKBERRY A USA 3 20.00 60.00 | ONION RED RD-J USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 8 31.00 248.00] PINE GOLDEN GOL USA 4 14.00 56.00
PAPAYA BIG BOX RED MEX L 35:00 35.00} BANANA BNA ECU 3 16.50 49.50
MANGO RIPE M/RIP MEX 10 9.00 90.00 | PLANTAIN YELLOW Cc ECU 1 27.00 27.00
TOMATO #1 5X6 USA 3 18.00 54.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
TOMATO PLUM Cc MEX 2 15.00 30.00 | EGG EX/LOOSE EXLOO USA 7 37.00 259.00
TOMATO CHERRY Cc USA 1 19.00 19.00 | EGG BROWN/CT BR/CT USA 1 50.00 50.00
TOMATO GRAPE R USA 2 11.00 22.00) SCALLION KING USA 3 40.00 120.00
TOMATO GRAPE YE USA 0 0.00 0.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 3 15.00 45.00
CABBAGE GR GR USA 1 22.00 22.00
CAULIFLOWER Cc USA 2 18.00 36.00
FLOWER ORCHID 100 USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 34.00 102.00
CELERY Cc USA 2 42.00 84.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 12 6.50 78.00 Credit : 43.30
GREEN LEAF GR USA 1 18.00 18.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 32.00 96.00 Total Boxes: 185.0
STRINGBEAN BEAN USA 1 27.00 27.00 Delivery $ : 240.50
SNOWPEA A USA 1 20.00 20.00
ENDIVES A USA 1 18.00 18.00 Shipment ‘ 3,892.20
BRUSSEL SP LOOSE USA 2 39.00 78,00) |, SSS ee ei i ra
RADICCIO.. RD/CO USA 1 12.00 12.00
MINT A USA 1 14.00 14.00 Cash Receipt:
BABY ARRUGULA B/AR: USA. 10; 21.00 210200 | es oes-esseeeeee reo enn eer s
CILANTRO Cc USA 2 18.00 36.00
PEPPER GREEN GR USA 2 27.00 54.00 Signature
PEPPER RED RED USA 2 16.00 32.00
Printed on Oct 12, 2020 kee*%% Balance : 173,877.34

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-2 Piiend 10/8216G2868age 8 off@e: 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325214

#100 Broad st

NY, NY 10004 Date 01/29/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] YELLOW PEPPER YELL USA 2 14.00 28.00
GRANNY SMITH 80 USA 2 41.00 82.00 | CUCUMBER CUM MEX 2 17.00 34.00
GALA APPLE 80 USA 1 45.00 45.00] SQUASH GREEN GR USA 1 17.00 £17.00
STAR RUBY Cc USA 1 28.00 28.00 | SQUASH YELLOW YEL MEX 1 24.00 24.00
POMEGRANATES Cc USA 2 18.00 36.00] GARLIC JAR JBOX USA 1 36.00 36.00
SEEDLESS GREEN GR USA 1 38.00 38.00 | SHANGHAT BOKCHOY SH/BK USA 1 24.00 24.00
SEEDLESS RED RED USA 1 33.00 33.00] MUSHROOM WASH 10LB USA 2 17.00 £34.00
KIWI LOOSE LLOO USA 1 23:00 23.00} MUSH SPECIAL 10SP USA 2 £7.50 52.50
WATERMELON SEED USA 1 50.00 50.00| PORTABELLA MUS M PO#2 USA 3 9.50 28.50
CANTALOUP ¢c USA 1 12.00 12.00] YAM #1 YAM USA 1 20.00 £20.00
HONEY DEW Gc USA 1 28.00 28.00] POTATO IDAHO 90 USA 2 22.00 44.00
JUICE ORANGE 100 USA 2 22.00 £44.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | ONION SPANISH SPI USA 2 16.00 £32.00
LEMON SK SK/L USA 1 32.00 32.00] ONION RED RD-J USA 2 13.00 # £26.00
STRAWBERRY CAL USA 8 31.00 248.00] PINE GOLDEN GOL USA 4 14.00 £56.00
RASPBERRY A USA 7 18.00 126.00 | BANANA BNA ECU 3 16.50 49.50
BLUEBERRY A USA 6 14.00 84.00] YUCA DOM EUC 1 22.00 £22.00
BLACKBERRY A USA 2 12.00 £24.00] CALABAZA c USA 1 20.00 £20.00
AVOCADO HASS# RIPE MEX 7 30.00 210.00] MESCLUN SALAD MESC USA 20 7.00 140.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00] EGG EX/LOOSE EXLOO USA 6 37.00 222.00
MANGO RIPE M/RIP MEX 15 9.00 135.00] YUKON A BOX ¥ ABO USA 1 35.00 35.00
LIME 48 MEX 1 9.00 9.00 | SCALLION KING USA 3 34.00 102.00
TOMATO #1 5X6 USA 2a 1L7./00 51.00} SQUASH BUTTERNUT BUIN USA 1 23.00 23.00
TOMATO PLUM Cc MEX 2 14.00 28.00} SQUASH KABOCHA KABO MEX 1 25.00 25.00
TOMATO CHERRY c USA 1 19.00 19.00
TOMATO GRAPE R USA 3 11.00 33.00
TOMATO GRAPE YE USA 1 35.00 35.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 4 15.00 60.00
FLOWER ORCHID 100 USA 1 23.00 £23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 32.00 96.00
CELERY c USA 1 42.00 42.00
SPINACH BUSH USA 1 28.00 28.00 Credit : -23.30
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 4 31.00 124.00
STRINGBEAN BEAN USA 1 27.00 27.00] Total Boxes: 195.0
SUGAR SNAPEA SNAP PER 1 19.00 19.00] Delivery $ : 253.50
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00] Shipment : 3,975.30
RADICCIO.. BD/CO}USA 2 22.00 22,00 | =-eeseeeseseee see re eres eee eee
MINT A USA 1 14.00 14.00
BASIL A USA 2 22.00 44.00 Cash Receipt:
BABY ARRUGULA A/AR “USA: 0 ID “TLG..00 | SSeS eee eee eS See oe SSeS eee aera
CILANTRO Cc USA 1 18.00 18.00
PEPPER GREEN GR USA 2 25.00 50.00] Signature
PEPPER RED RED USA 2 15.00 £30.00
Printed on Oct 12, 2020 *eeekee Balance : 159,087.50

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S&

Case 1:20-cv-08786-GHW Document1-2 Pike :10sB2/@R28@8age 9 OF 28: 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325282
#100 Broad st
NY, NY 10004 Date 01/30/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
STAR RUBY S USA 1 29.00 29.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
POMEGRANATES ¢ USA 1 42.00 42.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
SEEDLESS GREEN GR USA 1: -38:00 38.00 | EGGPLANT Cc USA LE £7.00 17.00
SEEDLESS RED RED USA 2 33.00 66.00 | POTATO IDAHO 90 USA 2 22.00 44.00
KIWI LOOSE LLOO USA 1 25.00 25.00 | POTATO RED A BOX BOX A USA 1 23.00 23.00
WATERMELON SEED USA 1 50.00 50.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
CANTALOUP c USA 2 11,00 22.00 | ONION SPANISH SPI USA 2 16.00 32.00
HONEY DEW Cc USA 2 28.00 56.00] ONION RED RD-J USA 2 13.00 26.00
JUICE ORANGE 100 USA 2 22.00 44.00] PINE GOLDEN GOL USA 5 14.00 70.00
SUNKIST ORANGE 56 USA 3 33.00 99.00 | BANANA BNA ECU 3 16.50 49.50
LEMON SK SK/L USA 1 30.00 30.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
STRAWBERRY CAL USA 7 24.00 168.00) EGG EX/LOOSE EXLOO USA 6 37.00 222.00
RASPBERRY A USA 7 14.00 98.00 | SCALLION KING USA 3 30.00 90.00
BLUEBERRY A USA 7 19.00 133.00
AVOCADO HASS# RIPE MEX 5 28.00 140.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00
TOMATO #1 5X6 USA 3 17.00 51.00
TOMATO PLUM c MEX 2 14.00 28.00
TOMATO CHERRY Cc USA 1 16.00 16.00
TOMATO GRAPE R USA 1 £2.00 11.00
TOMATILLO ORG MEX 2 16.00 32.00
ROMAINE CA-A USA 3 15.00 45.00
CABBAGE GR GR USA 1 23.00 23.00
CAULIFLOWER ¢ USA 2 16.00 32.00
FLOWER ORCHID 100 USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 30.00 90.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 19.00 19.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 4 28.00 112.00 Credit : 14.30
STRINGBEAN BEAN USA 1 28.00 28.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00 Total Boxes: 158.0
BABY ARRUGULA B/AR USA 2 11.00 22.00 Delivery $ 205.40
CILANTRO c USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 22.200 11.00 Shipment : 3,295.70
PEPPER GREEN GR USA 1 25.00 25.000 | oes cee ee tS SS Ser See
PEPPER RED RED USA 2 14.00 28.00
YELLOW PEPPER YELL USA 2 14.00 28.00 Cash Receipt:
JALAPINO JALPN HOL 1 25.00 25.00)) Stapee ss SS SS eee ee eee
CUCUMBER CUM MEX 2 17.00 34.00
SQUASH GREEN GR USA 1 16.00 16.00 Signature :
GARLIC JAR JBOX USA 1 34.00 34.00
Printed on Oct 12, 2020 **ee** Balance : 163,062.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§&

Case 1:20-cv-08786-GHW Document 1-2 PfhedelO/a2/20-28age 10 OF B3 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325340
#100 Broad st
NY, NY 10004 Date 01/31/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | PINE GOLDEN GOL USA 3 13.00 39.00
GRANNY SMITH 80 USA 1 41.00 41.00) BANANA BNA ECU 2 16.50 33.00
POMEGRANATES Cc USA 1 42.00 42.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
KIWI LOOSE LLOO USA 1 25.00 25.00] EGG EX/LOOSE EXLOO USA 7 37.00 259.00
WATERMELON SEED USA 1 50.00 50.00 | YUKON A BOX Y ABO USA 1 35.00 35.00
JUICE ORANGE 100 USA 2 22.00 44.00 | SCALLION KING USA 1 24.00 24.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
STRAWBERRY CAL USA 4 27.00 108.00
RASPBERRY A USA 5 18.00 90.00
BLUEBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 6 30.00 180.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 1 15.00 15.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 3 15.00 45.00
CAULIFLOWER Cc USA 2 16.00 32.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 27.00 81.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 20.00 20.00
GREEN KALE KALE USA 4 28.00 112.00
BRUSSEL SP LOOSE USA 2 36.00 72.00
SHALLOT JAR/5LB SJ#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 13,00 13.00
BASIL A USA Lt .20./00 20.00
BABY ARRUGULA B/AR USA 10 11.00 110.00
PARSLEY PLAIN FULL USA 1 22.00 22.00
CILANTRO c USA 1 18.00 18.00 Credit : -24.30
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 2 25.00 50.00
PEPPER RED RED USA 2 14.00 28.00 Total Boxes: 145.0
YELLOW PEPPER YELL USA 2 13.00 26.00 Delivery $ : 188.50
CUCUMBER CUM MEX 2 16.00 32.00
GARLIC JAR JBOX USA 1 32.00 32.00 Shipment 2,875.30
MUSHROOM WASH 10LB USA 2 417.00 34.00 | —----=-4=- 9-955 -Sccn ese sees esses ----
MUSH SPECIAL 10SP USA 3 Lido 52.50
PORTABELLA MUS M Po#2 USA 3 9.50 28.50 Cash Receipt:
POTATO IDAHO 90 USA 2 22.00 44.00 | ==S"Sotec eset Sate a rs Rae TT
CARROT LOOSE LOOSE USA 2 26.00 52.00
ONION SPANISH SPI USA 2 16.00 32.00 Signature
ONION RED RD-J USA 2 13.00 26.00
Printed on Oct 12, 2020 kekkke Balance : 166,357.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-2 Fiteee 1072878628 &ge 11 diaz3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325419
#100 Broad st
NY, NY 10004 Date 02/01/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
STAR RUBY c USA 1 33.00 33.00
POMEGRANATEs S USA 2 22.00 44.00
WATERMELON SEED USA 1 50.00 50.00
HONEY DEW Cc USA 1 26.00 26.00
JUICE ORANGE 100 USA 1, 22.00 22.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
STRAWBERRY CAL USA 8 29.00 232.00
RASPBERRY A USA 4 18.00 72.00
BLUEBERRY A USA 4 18.00 72.00
BLACKBERRY A USA 2 10:'00 20.00
AVOCADO HASS# RIPE MEX 3 30.00 90.00
LIME 48 MEX 1 10.00 10.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 1 15.00 15.00
TOMATO GRAPE YE USA 1 31.00 31.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 2 14.00 28.00
BROCCOLI CROWN CROW USA 4 12.00 48.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 26.00 78.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA fl. 20.00 20.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN COLLARD COALD USA 1 24.00 24.00
GREEN KALE KALE USA 2 26.00 52.00
STRINGBEAN BEAN USA 1 28.00 28.00
SNOWPEA A USA 1 20.00 20.00
RADICCIO.. RD/CO USA 1 13.00 13.00
MINT A USA 1 15.00 15:00
CILANTRO c USA 1 18.00 18.00
PEPPER RED RED USA 1 14.00 14.00
YELLOW PEPPER YELL USA 2 13.00 26.00
JALAPINO JALPN HOL 1 28.00 28.00
CUCUMBER CUM MEX 1 17.00 17.00
SQUASH GREEN GR USA 1 14.00 14.00 Credit -37.60
SQUASH YELLOW YEL MEX 1. 25.00 15.00
WATERCRESS B&w MEX 1 19.00 19.00
PORTABELLA MUS M PO#2 USA 2 9.50 19.00 Total Boxes: 103.0
POTATO IDAHO 90 USA i. 22.00 22.00 Delivery $ : 133.90
POTATO RED A BOX BOX A USA 1 20.00 20.00
CARROT LOOSE LOOSE USA 1 26.00 26.00 Shipment 2,130.00
ONION SPANISH SPE WSh. 1. 16.00: 26.00 | eee
ONION RED RD-J USA 1 £300 13.00
PINE GOLDEN GOL USA 3 13.00 39.00 Cash Receipt:
BANANA BNA ECU 3 16.50 49-50 | =seserrren eres srs eT eee
MESCLUN SALAD MESC USA 10 7.00 70.00
EGG EX/LOOSE EXLOO USA 4 37.00 148.00 Signature
SCALLION KING USA 3 26.00 78.00
Printed on Oct 12, 2020 *e444% Balance : 169,233.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW_ Document 1-2 Filed 10/22/20 Page 1D sf 23 02N08/2019

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To:

#100 Broad st Ga 705 7001
NY, NY 10004 2 | 019 02/08/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
02/03 Sunday 0.00 0.00
02/04 Monday 3840.80 0.00
02/05 Tuesday 3454.40 0.00
02/06 Wednesday 3202.50 0.00
02/07 Thursday 3306.90 0.00
02/08 Friday 2591.90 0.00
Shipped Total 16396.50 Paid Total 0.00
Delivery Charge 0.00 Credit Memo
Credit 0.00 = = =
Boas ees eerste Date +/- Qty Item Price Amount
Sub-Total (FY 16,396.50 9 eee eet ttt nnnn nen
Prev.Balance(+) 151,027.60 02/04 + 1 pine cr-14.3 0.00 0.00
02/04 + 1 Ysqu cr-1.3 0.00 0.00
Payment 0.00 02/05 + 1 itaegp ad+27. 0.00 0.00
2S SSeS ST 02/05 + 1 redoni cr-14. 0.00 C8
Current Balance 167,424.10 02/07 + 10 mango cr-—98 0.00 0.00
Credit Total 0.00
AR Aging Report Current Balance 167,424.10
2a A NS ee St
1st Week 16,396.50 Received Amount (-)
2nd Week 16,167.90 This Week Balance
=
3rd Week & Over 134,859.70 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 1-2 Fihedet0722720-2%&ge 13 OF &3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325472

#100 Broad st

NY, NY 10004 Date 02/04/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 43.00 43.00 | SQUASH YELLOW YEL MEX 1 16.00 16.00
STAR RUBY c USA 1 30.00 30.00 | GARLIC JAR JBOX USA 1 28.00 28.00
POMEGRANATES C USA 1 48.00 48.00 | SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
SEEDLESS RED RED USA 1 32.00 32.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
WATERMELON SEED USA 1 50.00 50.00] YAM #1 YAM USA 1 20.00 20.00
CANTALOUP c USA 1 10.00 10.00 | EGGPLANT Cc USA 1 18.00 18.00
HONEY DEW Cc USA 1 26.00 26.00] POTATO IDAHO 90 USA 2 21.00 42.00
JUICE ORANGE 100 USA 2 21.00 42.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION SPANISH SPI USA 2 16.00 32.00
LEMON SK SK/L USA 1 30.00 30.00] ONION RED RD-J USA 2 13.00 26.00
STRAWBERRY CAL USA 9 39.00 351.00] PINE GOLDEN GOL USA 4 13.00 52.00
RASPBERRY A USA 7 19.00 133.00] BANANA BNA ECU 3 16.50 49.50
BLUEBERRY A USA 7 14.00 98.00 | PLANTAIN YELLOW E ECU 1 27.00 27.00
BLACKBERRY A USA 3 23.00 69.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
AVOCADO HASS# RIPE MEX 8 29.00 232.00] EGG EX/LOOSE EXLOO USA 6 39.50 237.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] HERBS ROSEMARY ROSE CHL 1 7.50 7.50
MANGO RIPE M/RIP MEX 15 9.00 135.00] HERBS THYME THYM CHL 1 7.50 7.50
TOMATO #1 5X6 USA 2 15.00 30.00 | YUKON A BOX ¥ ABO USA 1 32.00 32.00
TOMATO PLUM ce MEX 1 14.00 14.00 | SCALLION KING USA 3 25.00 75.00
TOMATO CHERRY ¢ USA 2 18.00 36.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 34.00 34.00
ROMAINE CA-A USA 4 15.00 60.00
CABBAGE GR GR USA 1 26.00 26.00
CABBAGE RED RED USA 1 35.00 35.00
CAULIFLOWER Cc USA 2 15.00 30.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 24.00 72.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 10 6.50 65.00 Credit : 15.60
ANISE c USA 1 22.00 22.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 27.00 81.00 Total Boxes: 193.0
STRINGBEAN BEAN USA 1 27.00 27.00 Delivery $ : 250.90
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 38.00 38.00 Shipment : 3,840.80
BASIL A USA 1 20.00 20.00 | Saeareas Sree nese eee Gee eee aS eS See
BABY ARRUGULA B/AR USA 10 11.00 110.00
PEPPER GREEN GR USA 2 28.00 56.00 Cash Receipt:
PEPPER RED RED USA 3 13.00 39),.00\ | =e SS ee aa at
YELLOW PEPPER YELL USA 2 12.00 24.00
CUCUMBER CUM MEX 1 15.00 15.00 Signature :
SQUASH GREEN GR USA 1 14.00 14.00
Printed on Oct 12, 2020 xekeee Balance ; 151,027.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case _1:20-cv-08786-GHW Document 1-2 Prledet0/23/20-2%age 14 oF 28 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325552

#100 Broad st

NY, NY 10004 Date 02/05/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 45.00 90.00 | MUSHROOM WASH 10LB USA 4 17.00 68.00
GALA APPLE 80 USA 1 42.00 42.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
POMEGRANATES Cc USA 1 48.00 48.00] PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS RED RED USA 1 32.00 32.00] YAM #1 YAM USA 1 20.00 20.00
WATERMELON SEED USA 1 50.00 50.00} POTATO IDAHO 90 USA 2 21.00 42.00
JUICE ORANGE 100 USA 2 21.00 42.00 | POTATO RED A BOX BOX A USA 1 20.00 20.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION SPANISH SPI USA 2 16.00 32.00
LEMON SK SK/L USA 1 30.00 30.00 | ONION RED RD-J USA 3: 13).00 39.00
STRAWBERRY CAL USA 6 42.00 252.00] TOFU s USA 1 13.00 13.00
RASPBERRY A USA 4 19.00 76.00 | PINE GOLDEN GoL USA 3 13.00 39.00
BLUEBERRY A USA 4 12.00 48.00] BANANA BNA ECU 2 16.50 33.00
BLACKBERRY A USA 2 23.00 46.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00] EGG EX/LOOSE EXLOO USA 7 39.50 276.50
PAPAYA BIG BOX RED MEX 1 32.00 32.00 | SCALLION KING USA 3 26.00 78.00
MANGO RIPE M/RIP MEX 10 9.00 90.00 | SQUASH BUTTERNUT BUIN USA 1 22.00 22.00
TOMATO #1 5X6 USA 3 15.00 45.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY Cc USA 1 18.00 18.00
TOMATO GRAPE R USA 3 10.00 30.00
YEIIOW. TOMATO YTO USA 1 23.00 23.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 3 16.00 48.00
CAULIFLOWER Cc USA 1 16.00 16.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 24.00 72.00
CELERY c USA 1 42.00 42.00
SPINACH BUSH USA 1 18.00 18.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 19.00 19.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 35.00 70.00 Credit -13.00
RADICCIO.. RD/CO USA ZL T1.00 11.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 10 11.00 110.00] Total Boxes: 173.0
CILANTRO Cc USA 1 20.00 20.00 Delivery § 224.90
DILL 6PCS USA L 5.00 5.00
PEPPER GREEN GR USA 2 26.00 52.00 Shipment : 3,454.40
PEPPER RED RED USA 3 13.00 a2, 00" == SS SS See
YELLOW PEPPER YELL USA 2 £00 22.00
JALAPINO JALPN HOL 1 30.00 30.00 Cash Receipt:
CUCUMBER CUM MEX 3 14.00 AD..O0 | S=S=na Sens She SSS eee eS Se laa ea
SQUASH GREEN GR USA 1 14.00 14.00
SQUASH YELLOW YEL MEX 1 14.00 14.00 Signature :
GARLIC JAR JBOX USA 1 28.00 28.00
Printed on Oct 12, 2020 keekke Balance : 154,868.40

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 1-2 Pra 1d/32160"8Bage 15 dP 34738-1055

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325618
#100 Broad st
NY, NY 10004 Date 02/06/2019
Item Type Origin QTY Price _ Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 42.00 84.00] EGGPLANT ITALIAN ITAL USA 1 26.00 26.00
GALA APPLE 80 USA 1 42.00 42.00 | POTATO IDAHO 90 USA 2. Z2i<00 42.00
STAR RUBY ¢ USA 1 30.00 30.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
POMEGRANATES c USA 1 48.00 48.00] ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS GREEN GR USA 1 35.00 35.00] ONION RED RD-J USA 2 13.00 26.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | PINE GOLDEN GOL USA 3 12.00 36.00
WATERMELON SEED USA 1 50.00 50.00 | BANANA BNA ECU 2 16.50 33.00
CANTALOUP G USA 1 10.00 10.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
HONEY DEW c USA 1 24.00 24.00 | EGG EX/LOOSE EXLOO USA 5 39.50 197.50
JUICE ORANGE 100 USA 1 21.00 21.00 | SCALLION KING USA 3 30.00 90.00
SUNKIST ORANGE 56 USA 2 32.00 64.00
STRAWBERRY CAL USA 7 36.00 252.00
RASPBERRY A USA 3 20.00 60.00
BLUEBERRY A USA 6 22.00 72.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 10 8.50 85.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 1 14.00 14.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 2 9.00 18.00
TOMATO GRAPE YE USA 1 30.00 30.00
ROMAINE CA-A USA 4 16.00 64.00
CABBAGE GR GR USA 1 27.00 27.00
CAULIFLOWER Cc USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 12.00 48.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 22.00 66.00
CELERY Cc USA 1 42.00 42.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
BRUSSEL SP LOOSE USA 2 30.00 60.00
MINT A USA 1 14.00 14.00
BABY ARRUGULA B/AR USA 10 11.00 110.00
PARSLEY PLAIN FULL USA 1 24.00 24.00
CILANTRO c USA 2 20.00 40.00
BEETS 25LB LBAG CAN 1 10.00 10.00 Total Boxes: 160.0
PEPPER GREEN GR USA 2 24.00 48.00 Delivery $ : 208.00
PEPPER RED RED USA 2 13.00 26.00
YELLOW PEPPER YELL USA 2 Lt.:00 22.00 Shipment : 3,202.50
JALAPINO JALPN HOL 1 27.00 QT OO | mmm SES
CUCUMBER CUM MEX 2 14.00 28.00
SQUASH GREEN GR USA t 23.00 13.00 Cash Receipt:
SQUASH YELLOW YEL MEX 1 14.00 VM OO | mm
MUSHROOM WASH 10LB USA 3 17.00 51.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Signature
PORTABELLA MUS M POo#2 USA 4 9.50 38.00
Printed on Oct 12, 2020 *xk**** Balance : 158,322.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 1-2 _Phen¢ 10/8379028PRage 16 dP R3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325702

#100 Broad st

NY, NY 10004 Date 02/07/2019
Item Type Origin QTY Price | Amount | Item Type Origin QTY Price _ Amount
RED EX FANCY 80 USA 1 34.00 34.00 | PORTABELLA MUS M POo#2 USA 3 9.50 28.50
GRANNY SMITH 80 USA 2 42.00 84.00 | EGGPLANT Cc USA 1. 2E400 17.00
STAR RUBY Cc USA 1 30.00 30.00 | POTATO IDAHO 90 USA 3 21.00 63.00
POMEGRANATES Cc USA 1 48.00 48.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
SEEDLESS GREEN GR USA 1 36.00 36.00} ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 50.00 50.00} ONION RED RD-J USA 2 13.00 26.00
HONEY DEW Cc USA 1. 23.00 23.00 | PINE GOLDEN GOL USA 3 11.00 33.00
JUICE ORANGE 100 USA 1 21.00 21.00 | BANANA BNA ECU 3 16.50 49.50
SUNKIST ORANGE 56 USA 2 32.00 64.00 | CIDER 1/2G USA 1 27.00 27.00
LEMON SK SK/L USA 1 28.00 28.00 | MESCLUN SALAD MESC USA 18 7.00 126.00
STRAWBERRY CAL USA 6 36.00 216.00] EGG EX/LOOSE EXLOO USA 6 39.50 237.00
RASPBERRY A USA 5 20.00 100.00 | EGG BROWN/CT BR/CT USA 1 52.00 52.00
BLUEBERRY A USA 6 16.00 96.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
AVOCADO HASS# RIPE MEX 8 28.00 224.00} YUKON A BOX Y ABO USA 1 32.00 32.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] SCALLION KING USA 3 33.00 99.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY Cc USA 1 18.00 18.00
TOMATO GRAPE R USA 3 9.00 27.00
ROMAINE CA-A USA 4 16.00 64.00
CAULIFLOWER Cc USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 22.00 66.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
FRENCH BEAN FREN USA 1 16.00 16.00
ALFALFA CUP USA Ll. 12.00 12.00
BRUSSEL SP LOOSE USA 2 35.00 70.00
SHALLOT JAR/5LB su#5 USA 1 10:50 10.50
RADICCIO.. RD/CO USA 1 11.00 11.00 Credit i 98.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 6 11.00 66.00
BEETS 25LB LBAG CAN 2 11.00 22.00 Total Boxes: 173.0
PEPPER GREEN GR USA 1 24.00 24.00 Delivery $ : 224.90
PEPPER RED RED USA 3 13.00 39.00
YELLOW PEPPER YELL USA 2 10.00 20.00 Shipment : 3,306.90
JALAPINO JALPN HOL 1 26.00 26.00) | Sees SSS ee
CUCUMBER CUM MEX 2 14.00 28.00
SQUASH GREEN GR USA 1 13.00 13.00 Cash Receipt:
GARLIC JAR JBOX USA 1 28.00 2800 | Bea
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Signature
MUSH SPECIAL 10SP USA 4 17.50 70.00
Printed on Oct 12, 2020 *#***** Balance : 161,525.30

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§ Case 1:20-cv-08786-GHW_ Document 1-2 Pheer 10/29 7862%&ge 17 dfaz3_347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325752
#100 Broad st
NY, NY 10004 Date 02/08/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 33.00 33.00 | BANANA BNA ECU 3 16.50 49.50
STAR RUBY Cc USA 1 30.00 30.00 | PLANTAIN YELLOW Cc ECU 1 27.00 27.00
POMEGRANATES c USA 1 48.00 48.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
SEEDLESS RED RED USA 1 32.00 32.00 | EGG EX/LOOSE EXLOO USA 6 39.50 237.00
KIWI LOOSE LLOO USA 1 26.00 26.00] MONEY PICK UP $$$ 8) 0.00 0.00
WATERMELON SEED USA 1 50.00 50.00 | SCALLION KING USA 3 36.00 108.00
JUICE ORANGE 100 USA 1 21.00 21.00
SUNKIST ORANGE 56 USA 2 32.00 64.00
STRAWBERRY CAL USA 7 35.00 245.00
RASPBERRY A USA 6 24.00 144.00
BLUEBERRY A USA 5 18.00 90.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 5 28.00 140.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
LIME 48 MEX aL: 8.00 8.00
TOMATO PLUM Gc MEX 1 15.00 15.00
TOMATO GRAPE R USA 2 9.00 18.00
TOMATO GRAPE YE USA 1 28.00 28.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 2 14.00 28.00
CAULIFLOWER Cc USA 1 19.00 19.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 20.00 40.00
CELERY Cc USA 1 45.00 45.00
SPINACH BUSH USA 1 22.00 21.00
SPINACH BABY BA/SP USA 4 6.50 26.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 1 27.00 27.00
ENDIVES A USA 1 16.00 16.00
SHALLOT JAR/5LB sg#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 11.00 1100
CILANTRO c USA 1 19.00 19.00
PEPPER GREEN GR USA 1 22.00 22.00
PEPPER RED RED USA 1 14.00 14.00
YELLOW PEPPER YELL USA 2 10.00 20.00| Total Boxes: 123.0
CUCUMBER CUM MEX 1 14.00 14.00| Delivery $ : 159.90
SQUASH YELLOW YEL MEX 1 13.00 13.00
GARLIC JAR JBOX USA 1 28.00 28.00 Shipment : 2,591.90
MUSH SPECIAL 10SP USA 1 17.50 = 17.50 | men r rrr nnn rrr nnn rrr nnn nn ee
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
POTATO IDAHO 90 USA 2 21.00 42.00| Cash Receipt:
POTATO RED A BOX BOX A USA 1 20.00 20.00 |, =@=e ese se Saeeeee S S
CARROT LOOSE LOOSE USA 2 26.00 52.00
ONION SPANISH SPI USA 1 16.00 16.00 Signature
PINE GOLDEN GOL USA 4 10.00 40.00
Printed on Oct 12, 2020 exexee* Balance : 164,832.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document1-2 Filed 10/22/20 Page 1908fe23 02/15/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

02/10/2019 02/15/2019

 

 

 

 

 

Shipped Amont Payment

02/10 Sunday 0.00 0.00
02/11 Monday 3524.80 19419.30
02/12 Tuesday 3087.40 0.00
02/13 Wednesday 3249.50 0.00
02/14 Thursday 2975.50 0.00
02/15 Friday 2451.00 0.00
Shipped Total 15288.20 Paid Total 19419.30

Delivery Charge 0.00 Credit Memo

Credit 0.00
ata aati Date +/- Qty Item Price Amount

Sub-Total (Ch) T5,288s20) oo =sesecececeessnss eee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Prev.Balance(+) 167,424.10 02/11 + 2 rasp cr-50.6 0.00 0.00
02/11 + 1 yukonA ad+33. 0.00 0.00
Payment 19,419.30 02/11 + 21 redoni ad+14. 0.00 0.00
+ St See 02/12 + 2 rasp adt+50.6 0.00 0,00
Current Balance 163,293.00 02/15 + 1 radice ad+l2. 0.00 0.00
Credit Total 0.00
AR Aging Report Current Balance 163,293.00
Ist Week 15,288.20 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 148,004.80 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 1-2 Ste: sHBIIZ88 sae sg hig EOIN

7)
eS ee a

 

 

 

 

 

 

 

 

INVOICE

ShipTo: # ITE 100 BROAD STREET LLC (ESSEN) Invoice No. 325865

#100 Broad st

NY, NY 10004 Date 02/11/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price _ Amount
GRANNY SMITH 80 USA 1 42.00 42.00] SQUASH GREEN GR USA 1 12.00 12.00
GALA APPLE 80 USA 1 43.00 43.00 | SQUASH YELLOW YEL MEX 1 13.00 13.00
POMEGRANATES ic USA 1 48.00 48.00 | GARLIC JAR JBOX USA 1 26.00 26.00
SEEDLESS GREEN GR USA 1 36.00 36.00| SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
CANTALOUP c USA 1 9.00 9.00 | MUSH SPECIAL 10SP USA 4 17.50 £70.00
HONEY DEW c USA 1 23.00 23.00| PORTABELLA MUS M PO#2 USA 3 9.50 28.50
JUICE ORANGE 100 USA 2 21.00 42.00] EGGPLANT c USA 1 16.00 16.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | EGGPLANT ITALIAN ITAL USA 1 23.00 23.00
LEMON SK SK/L USA 1 28.00 28.00] POTATO IDAHO 90 USA 2 21.00 42.00
STRAWBERRY CAL USA 8 32.00 256.00| POTATO RED A BOX BOX A USA 1 20.00 20.00
RASPBERRY A USA 6 24.00 144.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
BLUEBERRY A USA 6 20.00 120.00] ONION SPANISH SPI USA 2 16.00 32.00
BLACKBERRY A USA 3 30.00 90.00 | ONION RED RD-J USA 2 12.00 24.00
AVOCADO HASS# RIPE MEX 8 29.00 232.00| PINE GOLDEN GOL USA 3 11.00 £33.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] BANANA BNA ECU 2 17.50 £35.00
MANGO RIPE M/RIP MEX 10 9.00 90.00| PLANTAIN YELLOW Cc ECU 1 27.00 27.00
LIME 48 MEX 1 8.00 8.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
TOMATO #1 5x6 USA 2 15.00 30.00 | EGG EX/LOOSE EXLOO USA 7 34.00 238.00
TOMATO PLUM e MEX 1 14.00 14.00 | HERBS THYME THYM CHL 1 7.50 7.50
TOMATO CHERRY é USA 1 18.00 18.00 | MONEY PICK UP $$$ 0 0.00 0.00
TOMATO GRAPE R USA 2 9,00 18.00 | SCALLION KING USA 3 30.00 90.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 4 19.00 76.00
CABBAGE GR GR USA 1 25.00 25.00
CAULIFLOWER ce USA 1 19.00 19.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 17.00 51.00
CELERY é USA 1 50.00 £50.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 20.00 20.00
GREEN COLLARD COALD USA 1 20.00 20.00
GREEN KALE KALE USA 4 24.00 96.00] Credit 3.00
STRINGBEAN BEAN USA 1 22.00 22.00
SNOWPEA A USA 1 15.00 15.00
SUGAR SNAPEA SNAP PER 1 16.00 16.00| Total Boxes: 176.0
ALFALFA CUP USA 1 12.00 12.00| Delivery $ : 228.80
BRUSSEL SP MM USA 2 36.00 72.00
BABY ARRUGULA B/AR USA 8 11.00 88.00] Shipment : 3,524.80
PARSLEY PLAIN FULL USA 1. 25.00 25.00 | ---
CILANTRO c USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Cash Receipt:
PEPPER GREEN GR USA 220.00 = 40.00 | mmr SE ES
PEPPER RED RED USA 3 15.00 45.00
YELLOW PEPPER YELL USA 2 11.00 22.00 Signature
CUCUMBER CUM MEX 2 15.00 30.00
Printed on Oct 12, 2020 kkeeke Balance : 167,424.10

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

 

K&S Case 1:20-cv-08786-GHW Dacument4.2 Phone : 718)767-2808 0 Fax: SAT ASE 1053
— SENSO OTIC 1 AYe 2U Ul Zo
INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325887
#100 Broad st
NY, Ny 10004 Date 02/12/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
GRANNY SMITH 80 USA 1 42.00 42.00 |) MUSH SPECIAL 10SP USA 3 17.50 52.50
STAR RUBY é USA 1 30.00 30.00 | PORTABELLA MUS M PO#2 USA 2 9.50 19.00
POMEGRANATES c USA 1 48.00 48.00 | POTATO IDAHO 90 USA 2 21.00 42.00
SEEDLESS RED RED USA 1 32.00 32.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
KIWI LOOSE LLOO USA 1 27.00 27.00 | ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 46.00 46.00 | ONION RED RD-J USA 2 12.00 24.00
HONEY DEW c USA 1 23.00 23.00 | TOFU s USA 1 13.00 13.00
JUICE ORANGE 100 USA 2 21.00 42.00 | PINE GOLDEN GOL USA 4 10.00 40.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | BANANA BNA ECU 2 17.50 35.00
LEMON SK SK/L USA 1 28.00 28.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
STRAWBERRY CAL USA 8 27.00 216.00] EGG EX/LOOSE EXLOO USA 6 34.00 204.00
RASPBERRY A USA 2 30.00 60.00 | SCALLION KING USA 3 26.00 78.00
BLUEBERRY A USA 2 15.00 30.00
BLACKBERRY A USA 0 0.00 0.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00
TOMATO #1 5x6 USA 3 15.00 45.00
TOMATO PLUM c MEX 2 14.00 28.00
TOMATO CHERRY ic USA 1 18.00 18.00
TOMATO GRAPE R USA 2 9.00 18.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 4 18.00 72.00
CABBAGE GR GR USA 1 24.00 24.00
CAULIFLOWER c USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 15.00 45.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
CELERY c USA 1 48.00 48.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN KALE KALE USA 4 26.00 104.00
STRINGBEAN BFAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 36.00 72.00| Credit : -50.60
RADICCIO. . RD/CO USA 1 11.00 11.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 10 11.00 110.00 Total Boxes: 151.0
PARSLEY PLAIN FULL USA 1 24.00 24.00| Delivery $ : 196.30
CILANTRO c USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Shipment : 3,087.40
PEPPER GREEN GR USA 2 18.00 36.00 | mmm
PEPPER RED RED USA 3 15.00 45.00
YELLOW PEPPER YELL USA 2 13.00 26.00 Cash Receipt:
CUCUMBER CUM MEX 2 20.00 20.00 | qn
SQUASH GREEN GR USA 1 12.00 12.00
GARLIC JAR JBOX USA 1 26.00 26.00 Signature e
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
Printed on Oct 12, 2020 #eeek%% Balance : 151,529.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-2 _Pagatr 1A}3)3°972808 4.5 94 FAX 2 347)438-1058

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TES 100 BROAD STREET LLC (ESSEN) Invoice No. 325995

#100 Broad st

NY, N¥ 10004 Date 02/13/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | GINGER 10LB 10LB CHN 1 12.00 12.00
GALA APPLE 80 USA 1 42.00 42.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
STAR RUBY Cc USA 1 30.00 30.00 | MUSH SPECIAL 10SP USA 2 17.50 35.00
POMEGRANATES c USA 1 48.00 48.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS GREEN GR USA 1 36.00 36.00] POTATO IDAHO 90 USA 2 21.00 42.00
SEEDLESS RED RED USA 1 32.00 32.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
WATERMELON SEED USA 1 46.00 46.00] ONION SPANISH SPI USA 2 16.00 32.00
CANTALOUP € USA 1 10.00 10.00 | ONION RED RD-J USA 1 12.06 12.00
HONEY DEW c USA 1 23.00 23.00 | PINE GOLDEN GOL USA 4 11.00 44.00
JUICE ORANGE 100 USA 2 20.00 40.00 | BANANA BNA ECU 2 17.50 35.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
LEMON SK SK/L USA 1 28.00 28.00 | EGG EX/LOOSE EXLOO USA 6 34.00 204.00
STRAWBERRY CAL USA 6 24.00 144.00] YUKON A BOX Y ABO USA 1 36.00 36.00
RASPBERRY A USA 4 30.00 120.00] SCALLION KING USA 3 26.00 78.00
BLUEBERRY A USA 7 18.00 126.00] SQUASH BUTTERNUT BUIN USA 1 21.00 21.00
BLACKBERRY A USA 4 35.00 140.00
AVOCADO HASS# RIPE MEX 7 27.00 189.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 3 14.00 42.00
TOMATO PLUM Cc MEX 2 13.00 26.00
TOMATO GRAPE R USA 1 9.00 9.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 3 18.00 54.00
CABBAGE RED RED USA 1 40.00 40.00
CAULIFLOWER c USA 1 22.00 22.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN COLLARD COALD USA 1 20.00 20.00
GREEN KALE KALE USA 4 25.00 100.00
STRINGBEAN BEAN USA 1 24.00 24.00
SNOWPEA A USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
SHALLOT JAR/5LB SJ#5 USA 1 10.50 10.50
BASIL A USA 1 20.00 20.00 Total Boxes: 160.0
BABY ARRUGULA B/AR USA 6 11.00 66.00 Delivery $ : 208.00
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Shipment : 3,249.50
PEPPER GREEN GR USA 1 16.00 16.00 | ---==$4-- See eo Se etn
PEPPER RED RED USA 2 15.00 30.00
YELLOW PEPPER YELL USA 2 13,00 26.00 Cash Receipt:
JALAPINO JALPN HOL 1 25.00 — 25.00 | mann
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH YELLOW YEL MEX 1, 11.00 11.00 Signature
GARLIC JAR JBOX USA 1 24.00 24.00
Printed on Oct 12, 2020 keke Balance : 154,617.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
can pities act 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inyentories Of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 1-2 Pana 1d/S9OP Sage 22 ipo 347158 1009

INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 326021
#100 Broad st
NY, NY 10004 Date 02/14/2019
Item Type Origin QTY Price _ Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00] POTATO IDAHO 90 USA 2 21.00 42.00
STAR RUBY Cc USA 1 32.00 32.00 | POTATO RED A BOX BOX A USA 1 20.00 20.00
POMEGRANATES c USA 1 48.00 48.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
WATERMELON SEED USA 1 46.00 46.00 | ONION SPANISH SPI USA 2 16.00 32.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION RED RD-J USA 2 12.00 24.00
LEMON SK SK/L USA 1 28.00 28.00] PINE GOLDEN GOL USA 3 11.00 33.00
STRAWBERRY CAL USA 8 20.00 160.00 | BANANA BNA ECU 3 27,50 52.50
RASPBERRY A USA 5 30.00 150.00] YUCA DOM EUC 1 22.00 22.00
BLUEBERRY A USA 6 15.00 90.00 | CALABAZA Cc USA 1 22.00 22.00
AVOCADO HASS# RIPE MEX 5 27.00 135.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] EGG EX/LOOSE EXLOO USA 6 34.00 204.00
MANGO RIPE M/RIP MEX 15 9.00 135.00 | SCALLION KING USA 2 26.00 52.00
TOMATO #1 5X6 USA 2 14.00 28.00] SQUASH KABOCHA KABO MEX 1 21.00 21.00
TOMATO PLUM c MEX 1 13.00 13'..00
TOMATO CHERRY Cc USA 1 18.00 18.00
TOMATO GRAPE R USA 3 8.00 24.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 3 18.00 54.00
CABBAGE GR GR USA 1 24.00 24.00
CAULIFLOWER Cc USA 1 23.00 23.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 15.00 45.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
CELERY Cc USA 1 46.00 46.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 3 26.00 78.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
RADICCIO.. RD/CO USA 1 11.00 11.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 8 11.00 88.00
CILANTRO c USA 1 17.00 17.00
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 1 15.00 15.00
PEPPER RED RED USA 2 14.00 28.00
YELLOW PEPPER YELL USA 1 13.00 13.00 Total Boxes: 160.0
JALAPINO JALPN HOL 1 25.00 25.00 Delivery § 208.00
CUCUMBER CUM MEX 2 22.00 44.00
SQUASH GREEN GR USA 1 10.00 10.00 Shipment 27975550
SQUASH YELLOW VEL MEX 111.00 © — 11.00 | mre EE
GARLIC JAR JBOX USA 1 24.00 24.00
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00 Cash Receipt:
MUSHROOM WASH 10LB USA 2 17.00 BA OO | mmm
MUSH SPECIAL 10SP USA 3 17.50 52.50
PORTABELLA MUS M POo#2 USA 3 9.50 28.50 Signature
YAM #1 YAM USA 1 19.00 19.00
Printed on Oct 12, 2020 kkkkk* Balance : 157,866.50

The perishable agricultural commodi
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commo
products derived from these commodities and any receivables or procee

ties listed on this invoice are sold subject to the statutory trust authorized by
dities retains a trust claim over these comm p }
d from the sale of these commodities until full payment is recieved.

section 5(c) of the perishable agricultural
odities, all inventories of food or other
K&S

Case 1:20-cv-08786-GHW_Document 1-2 Parse 16/8908 Sage 23 dpr'g 347)438-1055
INVOICE

 

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 326084
#100 Broad st
Ny, NY 10004 Date 02/15/2019

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount

GRANNY SMITH 80 USA 1 41.00 41.00 | BANANA BNA ECU 2 17.50 35.00

POMEGRANATES c USA 1 50.00 50.00] BANANA Y.G Y+G ECU 1 17.50 17.50

SEEDLESS GREEN GR USA 1 43.00 43.00 | MESCLUN SALAD MESC USA 10 7.00 70.00

SEEDLESS RED RED USA 1 33.00 33.00] EGG EX/LOOSE EXLOO USA 6 34.00 204.00

KIWI LOOSE LLOO USA 1 27.00 27.00 | SCALLION KING USA 2 26.00 52.00

HONEY DEW Cc USA 1 23.00 23.00

JUICE ORANGE 100 USA 1; 20.00 20.00

SUNKIST ORANGE 56 USA 1 32.00 32.00

LEMON SK SK/L USA 1 28.00 28.00

STRAWBERRY CAL USA 8 18.00 144.00

RASPBERRY A USA 5 30.00 150.00

BLUEBERRY A USA 7 14.00 98.00

BLACKBERRY A USA 4 30.00 120.00

AVOCADO HASS# RIPE MEX 4 27.00 108.00

PAPAYA BIG BOX RED MEX 1 33.00 33.00

MANGO RIPE M/RIP MEX 10 9.00 90.00

LIME 48 MEX al 8.00 8.00

TOMATO #1 5X6 USA 2 14.00 28.00

TOMATO PLUM c MEX 2 13.00 26.00

TOMATO CHERRY Cc USA 1 18.00 18.00

TOMATO GRAPE R USA 1 8.00 8.00

ROMAINE CA-A USA 3 18.00 54.00

BROCCOLI CROWN CROW USA 1 16.00 16.00

RABE ANDY USA 1 35.00 35.00

ASPARAGUS LG USA 1 16.00 16.00

CELERY C USA 1 46.00 46.00

SPINACH BUSH USA 1 30.00 30.00

SPINACH BABY BA/SP USA 8 6.50 52.00

GREEN COLLARD COALD USA 1 20.00 20.00

STRINGBEAN BEAN USA 1 18.00 18.00

BRUSSEL SP LOOSE USA 1 38.00 38.00

MINT A USA 1 14.00 14.00

CILANTRO Cc USA 2 18.00 36.00

PEPPER GREEN GR USA 1 13.00 13.00

PEPPER RED RED USA 3 14.00 42.00 Credit -12.30

YELLOW PEPPER YELL USA 1 15.00 15,00

CUCUMBER CUM MEX 1 17.00 17-00

SQUASH GREEN GR USA E 20.00 10.00 Total Boxes: 124.0

SQUASH YELLOW YEL MEX 1 10.00 10.00 Delivery $ 161.20

MUSHROOM WASH 10LB USA 2 217.00 34.00

MUSH SPECIAL 10SP USA 4 17.50 70.00 Shipment >: 2,451.00

PORTABELLA MUS M Po#2 USA 2 9.50 LOO | mm

EGGPLANT Cc USA 1 16.00 16.00

POTATO IDAHO 90 USA 3 21.00 63.00 Cash Receipt:

CARROT LOOSE (Oost UK. 2 26.00 26.00 | sence eee

ONION SPANISH SPI USA 1 16.00 16.00

ONION RED RD-J USA 1 12.00 12.00 Signature :

PINE GOLDEN GOL USA 3 11.00 33.00

Printed on Oct 12, 2020 #kk*k** Balance : 160,842.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
